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                     THE UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                (Charlotte Division)

In re:                                        )       Chapter 7
                                              )
Paul and Alison Hemingfield                   )       Case No. 21-30490
                                              )
                        Debtors.              )

                                   MOTION FOR TURNOVER

         Heather Culp, Trustee for the estate of the above captioned Chapter 7 bankruptcy (the
“Trustee”), hereby moves for turnover of any files, notes, documents, communications, or other
information in possession of the Debtors’ attorney used in preparation of the Debtors’ bankruptcy
filing, their petition, their schedules, any drafts of the forgoing, or any document production made
to the Trustee. The Trustee further requests any proof of authorization of the filing of the case and
signatures on the Debtors’ schedules and statements.

        Because the Debtors have no reasonable expectation that the information sought would be
held in confidence, the attorney-client privilege is unavailable. Taylor v. Wolbert (In re Wolbert),
No. 09-30765, 2010 Bankr. LEXIS 6406, at *10 (Bankr. W.D.N.C. Feb. 17, 2010).

        Wherefore, the Trustee requests the Court require the Debtors’ attorney to produce any
files, notes, documents, communications, or other information in possession of the Debtors’
attorney used in preparation of the Debtors’ bankruptcy filing, their petition, their schedules, any
drafts of the forgoing, or any document production made to the Trustee as well as any proof of
authorization of the filing of the case and signatures on the Debtors’ schedules and statements.

                                                           /s/ Cole Hayes
 Dated: Charlotte, North Carolina                  Cole Hayes (Bar No. 44443)
 June 29, 2022                                     601 S. Kings Drive
                                                   Suite F PMB #411
                                                   Charlotte, NC 28204
                                                   704-490-4247
                                                   Attorney for the Trustee
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                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                (Charlotte Division)

In re:                                       )      Chapter 7
                                             )
Paul and Alison Hemingfield                  )      Case No. 21-30490
                                             )
                       Debtors.              )

                                    NOTICE OF HEARING

       Heather Culp, Trustee for the estate of the above captioned Chapter 7 bankruptcy (the
“Trustee”), has filed her Motion for Turnover (the “Motion”).

        PLEASE TAKE NOTICE that your rights may be affected by the Motion. You should
read the Motion carefully and discuss the same with your attorney. If you do not have an attorney,
you may wish to consult with one.

       PLEASE TAKE FURTHER NOTICE that a hearing will be held on the Motion before the
Honorable J. Craig Whitley at the United States Bankruptcy Court, Charles Jonas Federal
Building, Courtroom 2B, 401 West Trade Street, Charlotte, North Carolina on August 22, 2022
at 9:30 A. M. (ET).

      PLEASE TAKE FURTHER NOTICE that the Court may grant the relief requested in the
Motion at said hearing. No further notice will be given.

                                                          /s/ Cole Hayes
 Dated: Charlotte, North Carolina                 Cole Hayes (Bar No. 44443)
 June 29, 2022                                    601 S. Kings Drive
                                                  Suite F PMB #411
                                                  Charlotte, NC 28204
                                                  704-490-4247
                                                  Attorney for the Trustee
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                                (Charlotte Division)

In re:                                       )     Chapter 7
                                             )
Paul and Alison Hemingfield                  )     Case No. 21-30490
                                             )
                       Debtors.              )

                               CERTIFICATE OF SERVICE

       I hereby certify that copies of the Motion for Turnover and related Notice of Hearing was
served by electronic notification on those parties registered with the United States Bankruptcy
Court, Western District of North Carolina ECF system to receive notices for this case on June 29,
2022 as well as by U.S. Mail on the following parties on June 29, 2022:

Corry Brannen
145 Union Street South, Ste. 104
Concord, NC 28025

Joseph M. Bochicchio
Joseph M. Bochicchio, PLLC
3440 Toringdon Way, Ste. 205
Charlotte, NC 28277

Paul Hemingfield
1949 Winpole Ln
Charlotte, NC 28273

Alison Hemingfield
1949 Winpole Ln
Charlotte, NC 28273

                                                         /s/ Cole Hayes
 Dated: Charlotte, North Carolina                Cole Hayes (Bar No. 44443)
 June 29, 2022                                   601 S. Kings Drive
                                                 Suite F PMB #411
                                                 Charlotte, NC 28204
                                                 704-490-4247
                                                 Attorney for the Trustee
